                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                     ROANOKE DIVISION

 JOHN DOE,                                       )
                                                 )
 Plaintiff,                                      )       Civil Action No. 7:18-cv-170
                                                 )
 v.                                              )
                                                 )
 VIRGINIA POLYTECHNIC                            )       By: Hon. Robert S. Ballou
 INSTITUTE AND STATE                             )       United States Magistrate Judge
 UNIVERSITY, et al.,                             )
                                                 )
 Defendants.                                     )
                                                ORDER

         The court held a hearing on Defendant’s Motion to Stay Discovery (Dkt. No. 28), which

 was opposed by Plaintiff. For the reasons discussed during the hearing, the Motion to Stay

 Discovery is DENIED, with the following changes to the pre-trial schedule:

         1. The parties are limited to conducting only written discovery at this time;

         2. I will hold a status conference on February 15, 2019, at 8:30 a.m. to further address

              the pre-trial deadlines and status of discovery;

         3. The expert disclosure deadlines shall be continued to a date to be determined during

              the February status conference; and

         4. The parties shall establish a briefing schedule for the dispositive motions Defendants

              intend to file in this matter, and shall provide that schedule to the court to be

              incorporated into an order.

         It is SO ORDERED.


                                                         Entered: November 14, 2018


                                                         Robert S. Ballou
                                                         Robert S. Ballou
                                                         United States Magistrate Judge



Case 7:18-cv-00170-EKD-RSB Document 33 Filed 11/14/18 Page 1 of 1 Pageid#: 109
